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                      IN THE UNITED STATES DISTRICT COURT
                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION


SENECA SPECIALTY INSURANCE                 §
COMPANY,                                   §
          Plaintiff,                       §
v.                                         §
                                           §       CIVIL ACTION NO. 1:20-CV-222
RANDY E. CHAPPELL, VINTON                  §
HOOKAH LOUNGE, LLC D/B/A                   §
ANGELS, AARON MICHAEL                      §
WARREN, AND FELICA MANUEL                  §
INDIVIDUALLY AND AS NEXT                   §
FRIEND OF NOAH MANUEL AND                  §
ON BEHALF OF THE ESTATE OF                 §
DAMIEN MANUEL,                             §
           Defendants.                     §


       PROPOSED ORDER ON DEFENDANT’S 12(B)(1) MOTION TO DISMISS


       On this day came to be heard Defendant FELICA MANUEL, Individually and as next

friend of Noah Manuel and on behalf of the Estate of Damien Manuel’s 12(b)(1) Motion to Dismiss

For Lack of Subject Matter Jurisdiction [Dkt. 33]. After considering the motion, the pleadings,

responses, and arguments of counsel, the Court is of the opinion the Motion should be GRANTED.

       It is therefore ORDERED, ADJUDGED, AND DECREED, that SENECA SPECIALTY

INSURANCE COMPANY’s Declaratory Judgment Action as to its duty to indemnify is dismissed

without prejudice.
